          Case: 3:21-cv-00118-wmc Document #: 107-2 Filed: 01/12/23 Page 1 of 5



                                                Exhibit B
                                 Fees for service of summons and subponea

                  Edgewood High School of the Sacred Heart, Inc. v. City of Madison, et al
                                       Case No. 21-cv-118-wmc

Date             Description                                                                      Total
       7/14/2022 Vendor: Dane County Civil Process, LLC; Invoice#: 73384632 - Fee for service     $     220.00
                 of subpoenas
       7/20/2022 Vendor: Bright Line Investigations; Invoice#: 07202022-0032 - Process server     $     93.00
                 fee for service of subpoena on Rettler Corporation
       7/30/2022 Vendor: Dane County Civil Process, LLC; Invoice#: 7415298 - Fee for Service      $     55.00
                 of Subpoena on Susan VanderSanden
       7/30/2022 Vendor: Dane County Civil Process, LLC; Invoice#: 7415308 - Fee for service of   $     55.00
                 subpoena of Maggie Balistreri-Clark
Total Costs                                                                                       $    423.00
Case: 3:21-cv-00118-wmc Document #: 107-2 Filed: 01/12/23 Page 2 of 5
                   Case: 3:21-cv-00118-wmc Document #: 107-2 Filed: 01/12/23 Page 3 of 5
                                                                                                         INVOICE
                                                                                                   Bright Line Investigations LLC
                                                                                                              101 Division Street N
                                                                                                                            Suite 8
                                                                                                   Stevens Point, Wisconsin 54481
                                                                                                                     United States

                                                                                                            Phone: 888-407-7380
                                                                                                               Fax: 414-937-5787
                                                                                                 www.brightlineinvestigations.com



BILL TO                                                                                  Invoice Number: 07202022-003
Boardman Clark
Sarah A. Zylstra                                                                             Invoice Date: July 20, 2022
1 South Pinckney Street
Suite 410                                                                                   Payment Due: August 19, 2022
Madison, Wisconsin 53703
                                                                                      Amount Due (USD): $93.00
United States

608-283-1741                                                                                                 Pay Securely Online
szylstra@boardmanclark.com


Items                                                             Quantity                             Price                Amount

Process Service                                                       1                               $75.00                 $75.00
John Kneer / Rettler Corporation
Stevens Point, WI
Case #3:21-CV-118

Fuel Surcharge                                                        2                                $9.00                 $18.00
John Kneer / Rettler Corporation
Stevens Point, WI
Case #3:21-CV-118
2 Attempts: 07/13 & 07/18/2022


                                                                                                       Total:                $93.00


                                                                                        Amount Due (USD):                    $93.00




                                                                                                   Pay Securely Online




                                                                                            link.waveapps.com/4stp6n-55pwx2




        Please note: All invoices that are past due will incur a $35 late fee or 5% late fee each month, whichever is greater.
Case: 3:21-cv-00118-wmc Document #: 107-2 Filed: 01/12/23 Page 4 of 5
Case: 3:21-cv-00118-wmc Document #: 107-2 Filed: 01/12/23 Page 5 of 5
